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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


PLANNED PARENTHOOD OF WISCONSIN,
INC., PLANNED PARENTHOOD OF GREATER
OHIO, PLANNED PARENTHOOD ASSOCIATION
OF UTAH, and NATIONAL FAMILY PLANNING
& REPRODUCTIVE HEALTH ASSOCIATION,

                              Plaintiffs,
                                                              No. 18 Civ. 1035-TNM (con)


       v.



ALEX M. AZAR II, in his official capacity as United
States Secretary of Health and Human Services, and
VALERIE HUBER, in her official capacity as Acting
Deputy Assistant Secretary for the Office of
Population Affairs,

                              Defendants.


            STIPULATION AND JOINT MOTION REGARDING SCHEDULING

       The parties jointly move the Court to set an agreed-upon briefing schedule for Plaintiffs’

Motion for a Preliminary Injunction and forthcoming cross-motion by the government, with

deadlines as described below. In support of this request, the parties hereby stipulate and agree as

follows:

       1.       Plaintiffs filed their lawsuits on May 2, 2018, challenging the FY2018 funding

opportunity announcement (“FOA”) for Title X grants issued by the Department of Health and

Human Services (“HHS”) pursuant to the Administrative Procedure Act, 5 U.S.C. § 706.

       2.       Plaintiffs filed a Motion to Consolidate on consent on May 4, 2018, which the

Court granted on May 7, 2018.
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       3.       The parties met and conferred consistent with the Local Rules on May 4, May 7

and May 8, 2018.

       4.       Plaintiffs filed their Motion for a Preliminary Injunction on May 8, 2018.

       5.       Defendants plan to file a responsive brief as well as a dispositive cross-motion.

       6.       The parties understand, based on Defendants’ representations, that if Plaintiffs’

Motion for a Preliminary Injunction were granted by mid-July 2018, and if the Court were to so

order, sufficient time would remain for HHS to provide continuation funding so that Plaintiffs’

Title X funding does not lapse. Similarly, should Defendants’ cross-motion be granted by mid-

July, HHS would be able to conclude its grant-making under the current FOA on schedule.

       7.       Accordingly, the parties propose the following schedule:

                                       Event                                            Proposed
                                                                                          Date

 Defendants’ Opposition to the Preliminary Injunction Motion and Defendants’          May 24, 2018
 Dispositive Motion

 Defendants serve the Administrative Record on Plaintiffs                             May 24, 2018

 Plaintiffs’ Reply in Further Support of the Preliminary Injunction Motion and        June 8, 2018
 Opposition to Defendants’ Dispositive Motion

 Defendants’ Reply in Further Support of the Dispositive Motion                       June 18, 2018


       8.       If the Court wishes to hold oral argument in June, the parties are available on the

following dates: June 21, 2018; June 22, 2018; and any day during the week of June 25, 2018.

       9.       A Proposed Order accompanies this Joint Motion.

       WHEREFORE, the parties respectfully request that the Court grant the relief requested

herein.




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Dated: May 9, 2018                             Respectfully submitted,

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Dated: May 9, 2018                    Respectfully submitted,

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